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JOHN G. POWERS
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                                      October 11, 2018

VIA ECF

Hon. Frederick J. Scullin, Jr.
United States Senior District Judge
Federal Building & U.S. Courthouse
Syracuse, New York 13261

        Re: John Does #1-9 v. Syracuse University et al., 5:18-CV-496 (FJS/DEP)

Dear Judge Scullin:

        I write on behalf of Defendants, Syracuse University, Kent Syverud, Robert Hradsky,
and Teresa Abi-Nader Dahlberg, (collectively, the “University”) to request a one-week
extension of time to file reply papers supporting the University’s Motion to Dismiss
Plaintiffs’ Second Amended Complaint (ECF #44) and Motion to Strike Plaintiffs’ Third
Amended Complaint (ECF #72). I also request permission to file reply papers that will not
exceed fifteen pages each.

        The reply papers for these two motions are currently due on October 16, 2018. Since
the University filed its initial motions—two months ago and one month ago, respectively—
opposing counsel has begun a parallel proceeding in state court, which has since been briefed
and awaits hearing, and has fully briefed a motion to voluntarily dismiss the action without
prejudice. Opposing counsel has also requested and received two extensions of time and a
page-limit extension on its response to the University’s Motion to Dismiss. Due to the
numerous issues to be addressed in the reply papers, counsel respectfully requests that this
Court grant a one-week extension of time, which would permit the University to file its
replies in support of its Motion to Dismiss and Motion to Strike Plaintiffs’ Third Amended
Complaint on October 23, 2018. Counsel also respectfully requests a short page-limit
extension, which would permit the University to file fifteen-page reply papers in support of
each motion.

        Thank you for your prompt consideration of this matter.

                                   Respectfully Submitted,

                                 HANCOCK ESTABROOK, LLP

                                      s/ John G. Powers
                                        John G. Powers



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                               CERTIFICATE OF SERVICE

        I hereby certify that on October 11, 2018, I caused the foregoing to be served via the

Court’s ECF system upon counsel for all parties to this action.


Date: October 11, 2018                               s/ John G. Powers
                                                     John G. Powers




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